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                         T H E U N I T E D S TAT E S D I S T R I C T C O U R T
                              M I D D L E D I S T R I C T O F F L O R I DA
                                        T A M PA D I V I S I O N

   Erik Dorman,
         Plaintiff(s)                               Case No: __________________________
   v.

   Max Home Inspections, LLC, Stuart
   Simm, and Kara Simm
         Defendant(s)


                       COMPLAINT      AND    DEMAND         FOR   J U RY T R I A L

          Plaintiff, Erik Dorman, sues Defendants, Max Home Inspections, LLC, a Florida

  limited liability company, Stuart Simm (individually), and Kara Simm (individually), and

  states as follows:


                                         J U RI S D I CT I O N


          1.      Jurisdiction is proper in this Court pursuant to 29 U.S.C. 216(b), the

  jurisdictional provision of the Fair Labor Standards Act (“FLSA”), and pursuant to 28

  U.S.C. sec. 2201-2202, the Federal Declaratory Judgment Act. This court has subject

  matter jurisdiction over Counts I, II, and III pursuant to 28 U.S.C. § 1331 (federal question
  jurisdiction), and supplemental jurisdiction over Count IV pursuant to 28 U.S.C. § 1367.

  Count IV is so related to Counts I, II, and III that they form part of the same case or

  controversy under Article III of the United States Constitution.




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                                           PA RT I E S


          2.     At all material times, the Plaintiff was, and continues to be, a resident of

  Polk County, Florida.

          3.     From June, 2014 though January 2020, Plaintiff was employed by

  Defendant Max Home Inspections, LLC (“MHI”) as a home inspector.

          4.     At all material times, Defendant MHI was a Florida corporation with its

  principal place of business in Polk County, Florida.

          5.     At all material times, Defendant MHI was a provider of home inspection

  services.

          6.     At all material times, Defendant MHI was an “employer” as defined by the

  FLSA.

          7.     At all material times, Defendant Stuart Simm was, and continues to be, an

  individual resident of Polk County, Florida.

          8.     During the time period at issue in this lawsuit, Defendant Stuart Simm had

  operational control of MHI’s day-to-day functions, including determining compensation of

  employees, hiring and discharging employees, controlling employees, and establishing terms
  and conditions of employment.

          9.     At all material times, Defendant Stuart Simm was an “employer” of

  Plaintiff as defined by the FLSA.

          10.    At all material times, Defendant Kara Simm was, and continues to be, an

  individual resident of Polk County, Florida.



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         11.     During the time period at issue in this lawsuit, Defendant Kara Simm had

  operational control of MHI’s day-to-day functions, including determining compensation of

  employees, hiring and discharging employees, controlling employees, and establishing terms

  and conditions of employment.

         12.     At all material times, Defendant Kara Simm was an “employer” of Plaintiff

  as defined by the FLSA.


                                      C LA S S I F I CAT I O N

         13.     Defendants considered Plaintiff to be an independent contractor.

         14.     Plaintiff was, in fact, an employee of Defendants within the meaning of

  the FLSA.

         15.     The principal business of Defendants was home inspections. Plaintiff was

  engaged to perform these home inspections. Plaintiff ’s work was an integral part of

  Defendants’ business.

         16.     Plaintiff was employed for an indefinite, ongoing term.

         17.     Defendants covered the activities of Plaintiff on Defendants’ liability

  insurance policy.

         18.     Plaintiff did not have his own liability insurance policy.

         19.     Defendants determined which properties Plaintiff would inspect.

         20.     Defendants determined the schedule for when Plaintiff would perform

  inspections.

         21.     Defendants generated all of the business that Plaintiff did.

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         22.      Defendants used their initiative, judgment, and foresight to compete in the

  marketplace for home inspection services.

         23.      Plaintiff did not use his initiative, judgment, and foresight to compete in

  the marketplace for home inspection services.

         24.      In generating business and operations of a home inspection business,

  Plaintiff was dependent on Defendants initiative, judgment, and foresight.

         25.      Plaintiff was not permitted to perform inspections for customers other
  than those of Defendants, either for himself or for any third parties. He exclusively worked

  for Defendants.

         26.      Plaintiff was not permitted to subcontract his work to third parties.

         27.      Plaintiff was required to personally perform the inspections assigned to

  him, himself.

         28.      Plaintiff worked full time.

         29.      Plaintiff was paid a flat fee per inspection for his services.

         30.      Plaintiff was required to wear Defendant MHI’s uniform.

         31.      Plaintiff was required to identify himself as a representative of MHI to
  customers and third parties.

         32.      Plaintiff was required to use MHI’s forms.

         33.      Plaintiff was required to follow MHI’s instructions and procedures for

  performing inspections.




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                                       FLSA C OV E RAG E


          34.     At all material times, Plaintiff and Defendants were engaged in

  “commerce” as defined by the FLSA.

          35.     Plaintiff and other employees of Defendant regularly produced inspection

  reports for clients located out of state.

          36.     Plaintiff and other employees of Defendant regularly accessed the internet

  using instrumentalities of interstate communication and services and data providers
  located in other states in producing inspection reports.

          37.     Plaintiff and other employees of Defendant regularly used cameras,

  computers, vehicles, supplies, tools, and equipment that moved in interstate commerce in

  performing their duties.

          38.     Plaintiff and other employees of Defendant regularly inspected installed

  materials and equipment that had moved in interstate commerce, such as building and

  construction materials of all sorts, heating and air conditioning systems, and appliances.

          39.     Plaintiff and other employees of Defendant regularly performed home

  inspection services for the purposes of providing information to facilitate real estate sales

  transactions involving lenders, buyers, sellers, insurers, title insurers, and other parties from
  outside the state of Florida.

          40.     Defendants maintains a web site and a Facebook page that are accessible

  outside the state of Florida to and seek in part to attract business from customers located

  outside the state of Florida.




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          41.     The annual gross revenue of the Defendants was in excess of $500,000 per

  year during the time period at issue in this lawsuit.

          42.     Defendants are subject to enterprise coverage under the FLSA.

          43.     In addition, and in the alternative, Plaintiff is subject to individual coverage

  under the FLSA.


                                          FACT S


          44.     At various times, Plaintiff worked for Defendants in excess of forty hours

  within a work week.

          45.     Defendants failed to keep track of the hours worked by Plaintiff.

          46.     Defendants failed to compensate Plaintiff at a rate of one and one-half

  times his regular rate for all hours worked in excess of forty hours in a single work week.

          47.     Plaintiff has retained Bloodworth Law, PLLC to represent him in this

  litigation and has agreed to pay a reasonable fee for the firm’s services.


                           C O U N T I – R E C OV E RY O F OV E RT I M E
                                        C O M P E N S AT I O N

          48.     This is a cause of action for recovery of overtime compensation brought

  under the Fair Labor Standards Act against all Defendants.

          49.     Plaintiff restates the allegations of paragraphs 1 through 47, above.

          50.     The Defendants have violated the FLSA by:




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                     a. Failing to compensate Plaintiff at one and on-half times his regular

                          rate for all hours worked in excess of forty hours per week;

                     b. Failing to comply with the time tracking and record-keeping

                          requirements of the FLSA and associated regulations.

         51.     Defendants actions were willful and/or showed reckless disregard for the

  provisions of the FLSA.

         52.     Defendants failed to properly disclose or apprise Plaintiff of his rights
  under the FLSA.

         53.     Due to the willful and unlawful acts of Defendants, Plaintiff suffered

  damages and lost compensation for time worked in excess of forty hours per week.

         54.     Plaintiff is also entitled to liquidated damages pursuant to the FLSA.

         55.     Plaintiff is also entitled to an award of reasonable attorney’s fees and costs

  pursuant to the FLSA.


                          C O U N T II – D E C LA RAT O RY J U D G M E N T


         56.     This is a cause of action for recovery of a declaratory judgment brought

  under the Fair Labor Standards Act and 28 U.S. Code § 2201 against all Defendants.

         57.     Plaintiff restates the allegations of paragraphs 1 through 47, above.

         58.     Plaintiff and Defendants have a dispute pending concerning violations of

  the FLSA over which this Court has jurisdiction.

         59.     This Court also has jurisdiction to hear Plaintiff ’s request for declaratory

  relief pursuant to the Declaratory Judgment Act, 28 U.S.C. sec. 2201-2202.

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          60.     The Defendants have violated the FLSA by:

                       a. Failing to compensate Plaintiff at one and on-half times his regular

                           rate for all hours worked in excess of forty hours per week;

                       b. Failing to comply with the time tracking and record-keeping

                           requirements of the FLSA and associated regulations.

          61.     Plaintiff is entitled to declaratory relief.

          62.     Plaintiff is entitled to overtime compensation.

          63.     Plaintiff is entitled to an equal amount of liquidated damages.

          64.     It is in the public interest to have these declarations of rights recorded.

          65.     Plaintiff ’s declaratory judgment action serves the useful purpose of

  clarifying and settling the legal dispute at issue.

          66.     The declaratory judgment action terminates and affords relief from the

  uncertainty, insecurity, and controversy giving rise to the proceeding.


                   C O U N T III – F RAU D U LE N T I N F O R M AT I O N R E T U R N


          67.     This is a cause of action for filing a fraudulent information return brought

  pursuant to 26 U.S. Code § 7434 against all Defendants.

          68.     Plaintiff restates the allegations of paragraphs 1 through 33 and 44 through

  47, above.

          69.     For the entire period of Plaintiff ’s employment, Defendant MHI filed

  fraudulent information returns with the Internal Revenue Service.



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          70.    Defendants Stuart Simm and Kara Simm were responsible for filing

  Defendant MHI’s fraudulent information returns with the Internal Revenue Service or

  causing them to be filed and did so with actual or constructive knowledge of the facts

  described herein.

          71.    Defendants reported Plaintiff ’s income on an IRS form 1099 as income of

  an independent contractor.

          72.    In fact, Plaintiff was misclassified as an independent contractor. Plaintiff
  was an employee.

          73.    As a result, Plaintiff has been damaged. Plaintiff ’s damages include, but are

  not limited to, Plaintiff being held liable for Defendant MHI’s portion of applicable payroll

  taxes during each year of employment.

          74.    If and to the extent Plaintiff ’s damages do not exceed $5000, Plaintiff is

  entitled to minimum damages of $5000 in accordance with 24 U.S.C. § 7434.

          75.    Plaintiff is also entitled to recover reasonable attorneys’ fees and costs.


                       C O U N T IV – D E CE PT I V E T RA D E P RACT I CE


          76.    This is a cause of action for violation of the Florida Deceptive and Unfair

  Trade Practices Act, Fla. Stat § 501.201 et seq.

          77.    Plaintiff restates the allegations of paragraphs 1 through 33 and 44 through

  47, above.

          78.    The actions of Defendants are an unfair and deceptive trade practice

  prohibited by Florida Statutes.


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          79.     As a direct and proximate result of Defendants’ unfair and deceptive trade

   practices, Plaintiff has suffered damages.

          WHEREFORE, Plaintiff respectfully requests that a judgment be entered in his

   favor against Defendants:

                      a. Declaring, pursuant to 29 U.S.C. sec. 2201-2202, that the acts and

                          practices complained of are in violation of the FLSA;

                      b. Awarding Plaintiff overtime compensation in the amount due for all
                          time worked in excess of forty hours per work week;

                      c. Awarding Plaintiff liquidated damages in an amount equal to the

                          overtime award;

                      d. Award Plaintiff damages of the greater of $5000 or Plaintiff ’s

                          actual damages for filing fraudulent information returns;

                      e. Award Plaintiff damages for Defendants’ deceptive and unfair trade

                          practice;

                      f. Awarding Plaintiff reasonable attorney’s fees and costs and expenses

                          of litigation;

                      g. Awarding Plaintiff pre-judgment and post-judgment interest; and

                      h. Ordering any further relief the Court deems just and proper.


                                           J U RY D E M A N D


          Plaintiff demands trial by jury on all issues so triable.



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         Respectfully submitted August 20, 2020.


                                              ______________________________
                                              J. Kemp Brinson
                                              Fla. Bar No. 752541
                                              BLOODWORTH LAW, PLLC
                                              801 N. Magnolia Ave. Suite 216
                                              Orlando, FL 32803
                                              Office: 407-777-8541
                                              Mobile: 863-288-0234
                                              KBrinson@LawyerFightsForYou.com
                                              EOMalley@LawyerFightsForYou.com
                                              Attorney for Plaintiff




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